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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

YEN LAM NOVACK, ET AL.,                         §
     PLAINTIFFS,                                §
                                                §
V.                                              §    CASE NO. 3:17-CV-1684-N-BK
                                                §
RICE108 INC. D/B/A                              §
PHO CHATEAU, ET AL.,                            §
     DEFENDANTS.                                §

                    FINDINGS, CONCLUSIONS AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE
          Pursuant to District Judge David Godbey’s Order of Reference, Doc. 14, and 28 U.S.C. §

636(b), this case has been referred to the undersigned for pretrial management. Pending before

the Court is Defendants’ FRCP 12(b)(6) Motion to Dismiss Plaintiffs’ Complaint, Doc. 24. For

the reasons stated here, Defendants’ motion should be DENIED.

     I.      BACKGROUND
          This action arises under the Fair Labor Standards Act (“FLSA”). On June 26, 2017,

Plaintiffs filed their original complaint alleging that Defendants RICE108 Inc., doing business as

Pho Chateau (“Pho Chateau”), and Thyanne Ngo (“Ngo”) failed to pay to Plaintiffs the minimum

wage rate under the FLSA. Doc. 1 at 9. According to Plaintiffs, Pho Chateau operates and

manages a restaurant at which Ngo serves as general manager. Doc. 1 at 3-4. Pho Chateau and

Ngo filed an answer on August 8, 2017. Doc. 7. About three months later, Plaintiffs sought

leave to amend their complaint to add Vuong Nguyen (“Nguyen”) as a defendant insofar as he

serves as Director and President of Pho Chateau. Doc. 12 at 3. The Court granted Plaintiffs’
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motion on February 12, 2018. Doc. 15. Ngo and Nguyen now move for dismissal under Rule

12(b)(6) of the Federal Rules of Civil Procedure. Doc. 24.

   II.       PARTIES’ ARGUMENTS
          By their motion, Ngo and Nguyen argue that Plaintiffs have “not alleged any facts that

would establish an employment relationship on a Defendant-by-Defendant basis.” Doc. 24 at 2.

Specifically, they argue that Plaintiffs’ complaint “lumps all three Defendants together in a

conclusory fashion” and “do[es] not allege any facts to support any claim that [Plaintiffs] have

an employment relationship with Ngo and Nguyen, distinct from their relationship—if any—

with Pho Chateau.” Doc. 24 at 3. In opposition, Plaintiffs argue that they have “sufficiently and

clearly” alleged that Ngo and Nguyen are “employers,” separate and apart from Pho Chateau,

under the FLSA. Doc. 32 at 4.

   III.      APPLICABLE LAW

          Motions to dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure are

disfavored and rarely granted. Sosa v. Coleman, 646 F.2d 991, 993 (5th Cir. 1981). However, a

complaint must be dismissed under Rule 12(b)(6) when it fails to plead “enough facts to state a

claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007). A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.

Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). Determining whether a complaint states a plausible

claim for relief is “a context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Id.

          Under the FSLA, an “employer” is “any person acting directly or indirectly in the

interests of an employer in relation to an employee.” Donovan v. Grim Hotel Co., 747 F.2d 966,


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971 (5th Cir. 1984) (quoting 29 U.S.C. § 203(d)). The Court of Appeals for the Fifth Circuit

applies the “economic reality” test to determine whether an individual or entity is an employer

under the FLSA. Gray v. Powers, 673 F.3d 352, 354 (5th Cir. 2012) (collecting cases). Under

that test, the Court considers whether the alleged employer “(1) possessed the power to hire and

fire the employees, (2) supervised and controlled employee work schedules or conditions of

employment, (3) determined the rate and method of payment, and (4) maintained employment

records.” Id. at 355 (quoting Williams v. Henagan, 595 F.3d 610, 620 (5th Cir. 2010)). The

analysis “must focus upon the totality of the circumstances, underscoring the economic realities

of the [employees’] employment.” Market v. Extended Stay America, No. 3:15-CV-4065-6,G

2016 WL 2914994, at * (N.D. Tex. May 19, 2016) (Fish, J.) (quoting Donovan v. Sabine

Irrigation Co., 695 F.2d 190, 194 (5th Cir. 1983), abrogation on other grounds by McLaughlin v.

Richland Shoe Company, 486 U.S. 128, 132-33 (1988).

   IV.      ANALYSIS

         Ngo and Nguyen rely on Kaminski v. BWW Sugar Land Partners, No. H-10-551, 2010

WL 4817057 (S.D. Tex. Nov. 19, 2010) to argue that Plaintiffs’ claim against them should be

dismissed. Doc. 24 at 3. Their reliance on Kaminski is misplaced. In that FLSA case, the

defendants moved for dismissal arguing that “the general allegation” that the plaintiffs were

“employed by Defendants” did not set forth a plausible claim. Kaminski, 2010 WL 4817057, at

*1. The court noted that the complaint did not identify the name or location of any of the

restaurants allegedly operated by the 51 defendants, nor did it identify by name or location the

restaurant (or restaurants) where any named plaintiff was employed. Id. Instead, the five

plaintiffs’ allegations concerning violations of the FLSA were made “globally” against all

defendants. Id. In opposition to the motion to dismiss, the plaintiffs reasoned that they had met

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their pleading obligation with respect to the defendants’ status as FLSA employers because their

complaint alleged that the plaintiffs “worked for” the defendants. Id. at 2. The court rejected the

plaintiffs’ contention and found that, to hold more than one employer liable under the FLSA, the

plaintiffs must allege at least “some facts” of the employment relationship, such as the location

of the restaurants where they were employed. Id. (“There simply are no such facts [concerning

the employment relationship] alleged in the complaint.”).

       Conversely, Plaintiffs here have offered allegations detailing Ngo’s and Nguyen’s roles

within Pho Chateau. Specifically, Plaintiffs alleged that Ngo is “the General Manager” of Pho

Chateau and acts “directly or indirectly in the interest of Pho Chateau in relation to its employees

(including Plaintiffs) by making operational and strategic decisions affecting employees,

including decisions affecting employee compensation.” Doc. 16 at 3. Such allegations

sufficiently state a plausible claim. See, e.g., Velazquez v. El Pollo Regio IP, LLC, No: 3:15-CV-

03170-M, 2016 WL 3669876, at *3 (N.D. Tex. July 11, 2016) (Lynn, C.J.) (applying the

economic reality test and finding employer status sufficiently pled where a plaintiff alleged that

the individual defendant was the “corporate officer, and/or owner, and/or manager” of defendant

companies and that he “ran the day-to-day operations . . . and was responsible for paying

Plaintiff’s wages and controlled Plaintiff’s work and schedule”).

       Furthermore, Plaintiffs averred that Ngo “controls Defendant Pho Chateau by making

strategic, operational and policy decisions, and exerting operational control through Ngo.” Doc.

16 at 5. The Court has previously found similar allegations to state a plausible claim. See, e.g.,

Acosta v. Peba Oil & Gas, Inc., No. 7:17-CV-00156-M-BP, 2018 WL 1135528, at *5 (N.D. Tex.

Feb. 6, 2018) (Ray, Jr., J.), adopted by 2018 WL 1083853 (N.D. Tex. Feb. 28, 2018) (Lynn, C.J.)

(applying the economic reality test and finding employer status sufficiently pled where a plaintiff

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alleged that an owner of a defendant company “acts and has acted directly or indirectly in the

interest of the [defendant company] in relation to its employees by making management and

personnel decisions . . . and by controlling the day-to-day management of the company”).

       Moreover, as to Nguyen, Plaintiffs alleged that Nguyen is a “shareholder, Director, and

President of Pho Chateau” and, as such, “advises and consults Pho Chateau concerning the

restaurant’s operations, including policies that directly effects [sic] its employees—including

Plaintiffs.” Doc. 16 at 3-4. Previously, such an allegation has also been held to contribute to a

plausible claim. See Velazquez, 2016 WL 3669876, at *3 (finding employer status sufficiently

pled where a plaintiff alleged, inter alia, that the individual defendants were corporate officers

and/or owners, and/or managers of the defendant companies). In addition to his role in the

company, Plaintiffs explained that Nguyen “acts directly or indirectly in the interest of Pho

Chateau in relation to its employees (including Plaintiffs) by making operational and strategic

decisions affecting employees, including decisions affecting employee policies and

compensation.” Doc. 16 at 4. See Acosta, 2018 WL 1135528, at *5. Finally, Plaintiffs alleged

that Nguyen “exert[ed] operational control through Ngo.” Doc. 16 at 5. Acosta, 2018 WL

1135528, at *5; see also Gray, 673 F.3d 352 at 357 (“The dominant theme in the case law is that

those who have operating control over employees within companies may be individually liable

for FLSA violations committed by the companies.”).

       Based on all of Plaintiffs’ allegations, the Court finds that Plaintiffs have met the

pleading requirements of the Federal Rules of Civil Procedure, and Defendants’ motion to

dismiss based on Rule 12(b)(6) should be DENIED.




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   V.      CONCLUSION

   For the foregoing reasons, Defendants’ FRCP 12(b)(6) Motion to Dismiss Plaintiffs’

Complaint, Doc. 24, should be DENIED.

   SO RECOMMENDED on December 27, 2018.




                               INSTRUCTIONS FOR SERVICE AND
                             NOTICE OF RIGHT TO APPEAL/OBJECT
A copy of this report and recommendation will be served on all parties in the manner provided by
law. Any party who objects to any part of this report and recommendation must file specific
written objections within 14 days after being served with a copy. See 28 U.S.C. § 636(b)(1); FED.
R. CIV. P. 72(b). To be specific, an objection must identify the specific finding or recommendation
to which objection is made, state the basis for the objection, and specify the place in the magistrate
judge’s report and recommendation where the disputed determination is found. An objection that
merely incorporates by reference or refers to the briefing before the magistrate judge is not specific.
Failure to file specific written objections will bar the aggrieved party from appealing the factual
findings and legal conclusions of the magistrate judge that are accepted or adopted by the district
court, except upon grounds of plain error. See Douglass v. United Services Automobile Ass’n, 79
F.3d 1415, 1417 (5th Cir. 1996), modified by statute, 28 U.S.C. § 636(b)(1) (extending the time to
file objections to 14 days).




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